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                                      UNITED STATES DISTRICT COURT
                                        DISTRICT OF CONNECTICUT

IN THE MATTER OF SUBPOENA DUCES                             DOCKET NO.:       3: 18   CV 367
TECUM ADDRESSED TO QUANTLAB
FINANCIAL LLC

                                                            MARCH 1,2078



        OUANTLAB FINAN                   LLC'S MOTION TO OUASH SUBPO                        DUCES TECUM



                   Quantlab Financial LLC ("Quantlab") moves pursuant                 to Rule 17(c)(1)(2) and (3),
Federal Rules          of Criminal   Procedure,   to quash the subpoena    issued     by Defendant Andre Flotron
("Flotron" or "Defendant") in the matter of United Sates of America v. Andre Flotron, Criminal No.: 17-

CR-220 (JAM) pending in this district (the "Action").


                   In support of said Motion, Quantlab avers the following:


       1.   Quantlab is a third party witness and not a party to the       Action. Quantlab is a victim in    this

            matter that has cooperated with the govemment's investigation thereof.


       2.   Quantlab accepted service of a subpoena duces tecum dated February 7, 2018 by Defendant via

            email on or about February 12,2018.


       3. The return date for said subpoena was February 2I, 2018 at the offices of Greenberg              Traurig

            LLP,200 Park Avenue, New York, NY 10166, and not to the United States District Court under

            whose authority said subpoena was served.


       4.   Defendant never provided notice that      it was seeking   an order to obtain Quantlab's confidential

            information before any order permitting issuance of the instant subpoena was entered.



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       5.   Shortly after receiving the subpoena, Simon J. Garfield, Associate General Counsel for Quantlab,

            consulted with counsel        for Flotron,   and received an agreement to extend the date for production

            to March 2,2018.


       6. While Quantlab         has agreed to produce its correspondence with the government relating to this

            matter, it has not agreed to provide Defendant with information that was confidential and trade

            secret   information. Specifically, Quantlab has objected to disclosure of its most closely-guarded

            commercial secret, its source code and trading algorithms, which were developed as part of

            Quantlab's research and development over a dozen years and at the cost of millions of dollars.

            Quantlab timely served objections to this request.


       7.   There is no dispute that Quantlab's trading algorithms are trade secrets, or that Quantlab takes

            extraordinary measures to protect these trade secrets from disclosure. Indeed, Quantlab has

            successfully defended its trade secret and proprietary trading algorithms up through the United

            States Court    of Appeals for the Fifth Circuit. See Quantlab Technologies, Limíted @'f4;

            Quantlab Financial, L.L.C. v. Andriy Kuharslqt; et al., No. 16-20242,2077 U.S. App. LEXIS

            1113615th    Cir.   June   22,2017). Providing its "trading algorithms" (secret sauce) to Defendant or

            any other person outside of Quantlab would cause irreparable harm to Quantlab.


       8. It would thus be an undue burden to require           Quantlab to reveal such trade secrets here. It is also

            unnecessary.   It is Quantlab's understanding that the trades at issue in this case relate to the first

            two levels of the order book. There is absolutely no reason that Quantlab must disclose the inner

            workings of its trading strategy worth millions of dollars, that could be rendered valueless by

            disclosure, in order for the govemment to prove, or the defendant here to disprove, that false

            information injected into the first two levels of the order book will impact trading.




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       9.   Courts have routinely quashed similar requests, and should do so here. In Viacom Int'l Inc.                  v.


            YouTube       Inc. and Google, Inc., for example, Viacom sought production of the source code to

            Google's and YouTube's search tools to determine           if   these tools   in any rway favored the retrieval

            of Viacom' s copyrighted materials. The court recogni zed that there was no dispute that the

            secrecy of this source code, like here, was of enormous commercial value, and that someone                with

            access   to   it could   readily perceive its basic design principles, and cause catastrophic harm by

            sharing it with others who might create their own programs without making the same investment.

            See   id.,253 F.R.D. 256,259 (S.D.N.Y. 2008). While recognizing that there were careful and

            extensive protections already set forth in the stipulated confidentiality order, the court found that

            these were "nevertheless not as safe as nondisclosure" and granted the protective order sought.

            See id. at260.


       10. Similarly, in Banner Indus. of NE.        v. Wicks, the court recognized its "vested authority to issue a

            protective order to secure the sanctity of trade secrets." 1d., No. 1:11-CV-1537, 2013 U.S. Dist.

            LEXIS 150559, aI *24 (N.D.N.Y. Oct. 21, 2013). There, Plaintiff, a distributor of industrial

            valves and tubing, accused its former employee of tortious interference with its relationship with

            Asahi. Plaintiff sought information from Asahi about how it chose its distributor, and Asahi

            sought a protective order so       it would not be required to reveal this sensitive information. The

            court agreed that the attomeys' eyes only provision                 in the existing protective      order was

            insufficient to protect Asahi's proprietary information, and granted the protective order. See id. at

            *29-30; see also Bell Atl. Bus.     Sys. Servs. v.   Hitachí Data Sys. Corp., No. M8-85 ,1995 U.S. Dist.

            LEXIS 265, at *1 (S.D.N.Y. Jan. 13, 1995) ("With respect to the protective order ... we                     are

            satisfied both that the fsource code] material is of vital importance to IBM and that no protective




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           order could possibly be devised which could guarantee security for the material once it has |eft

           IBM's hands.").


       11. Considered against the value and secrecy      of Quantlab's trade secrets, and the immateriality of

           the details of the source code here, there is no reasonable justification for requiring
                                                                                                   Quantlab to

           produce such materials. Despite good faith efforts to confer, counsel for Quantlab and Defendant

           have been unable to resolve this discovery dispute. (See Certificate of Compliance attached at

           Exhibit     A).   As such, Quantlab respectfully requests the Court quash Defendant's February      7,

           2018 subpoena.




                                                         QLINATLAB FINANCIAL LLC


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                                         EXHIBIT A




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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT

IN THE MATTER OF SUBPOENA DUCES                         DOCKETNO.: 3:18 CV 367
TECUM ADDRESSED TO QUANTLAB
FINANCIALLLC

                                                        MARCH 1,2018


                                  CERTIFICATE         OF'   COMPLIANCE

JACOB M. KAPLAN certifies         as   follows


    1. I ana member of the law firm of Baker & McKenzie           LLP, and will be requesting permission to

         appear pro hac vice in this proceeding   in connection with this filing. I submit this Certification

         in support of non-party Quantlab Financial LLC's Motion to Quash.


    2.   As detailed more fully in Quantlab's Motion to Quash, counsel for Quantlab has made a good

         faith effort to confer with counsel for Defendant Andre Flotron ("Defendant") to avoid the

         unnecessary production of Quantlab's trade secrets.


    3.   Following certain telephonic meet-and-confer conferences between Quantlab's Associate

         General Counsel and Defendant's counsel, this firm was retained. Thereafter, onFebruary 27,

         2018, and again on February 28,2018,I conducted further telephonic meet-and-confer

         conferences to discuss this matter with Defendant's counsel and to attempt in good faith to

         resolve the differences on the scope of Defendant's subpoena.


    4.   Despite these good faith efforts, Defendant's counsel and I were unable to reach an accord.




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         I cenit that the foregoing statements   are true and cõnectto'the,best of my knowledge.




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                                         CERTIFICATE OF SERVICE

        I hereby certiff that on March   1, 2018, a copy of the foregoing was sent by email prior to the   filling of

this Appearance and thereafter by first-class mail, postage pre-paid to the following counsel:

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                                                                 /s/ Richard P. Colbert
                                                                     Richard P. Colbert




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